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           IN THE UNITED STATES DISTRICT COURT FOR THE
                  WESTERN DISTRICT OF OKLAHOMA

 NIKITA WILLIAMS,                          )
                                           )
                     Plaintiff,            )
                                           )
 -vs-                                      )     Case No. CIV-05-562-F
                                           )
 SOUTH COUNCIL SONIC, INC. and             )
 CHRIS ROBINSON,                           )
                                           )
                     Defendants.           )

                                      ORDER
        Before the court is plaintiff, Nikita Williams’ Motion to Set Aside
Administrative Closing Order, filed February 10, 2006 (doc. no. 25), and Motion for
Default Judgment, filed February 10, 2006 (doc. no. 28).
        This action was commenced with the filing of a complaint by Dionne King, as
parent and next friend of N.K., a minor child, on May 19, 2005 (doc. no. 1). The
complaint alleged federal and state law claims against defendant, South Council
Sonic, Inc., and a state law claim against defendant, Chris Robinson. Defendant,
South Council Sonic, Inc., entered an appearance through counsel and filed an answer
to the complaint on June 13, 2005. Defendant, Chris Robinson, was purportedly
served with the complaint and summons, but did not enter an appearance or answer
the complaint. On October 12, 2005, with leave of court, an amended complaint was
filed substituting Nikita Williams as the plaintiff in this case (doc. no. 19). The
amended complaint alleged the same claims against defendants, South Council Sonic,
Inc. and Chris Robinson. Defendant, South Council Sonic, Inc., answered the
amended complaint on October 14, 2005. The certificate of service does not reflect
that the amended complaint was served on defendant, Chris Robinson.
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      On February 8, 2006, a mediation was conducted and plaintiff’s claims against
defendant, South Council Sonic, Inc., were settled. Defendant, Chris Robinson, did
not participate in the mediation. The next day, February 9, 2006, court staff contacted
plaintiff’s counsel as to the outcome of the mediation. During the phone call,
plaintiff’s counsel advised court staff that the case had been settled and that the case
should be administratively closed. An administrative closing order was entered that
same day. On February 15, 2006, a stipulation of dismissal was filed dismissing with
prejudice plaintiff’s claims against defendant, South Council Sonic, Inc.
      Plaintiff requests the court to set aside the administrative closing order in light
of the fact that the state law claim against defendant, Chris Robinson, has not been
adjudicated or resolved. With the pending claim, the court agrees that administrative
closing order should be set aside. The court will grant plaintiff’s request and vacate
that order.
      Plaintiff also requests that an entry of default and a default judgment be entered
against defendant, Chris Robinson, for failure to appear or answer in this action.
However, upon due consideration, the court declines to grant plaintiff’s request.
      With the dismissal of all claims against defendant, South Council Sonic, Inc.,
the only remaining claim is a state law claim against defendant, Chris Robinson, for
civil assault. See, Complaint, Count II; Amended Complaint, Count II. Plaintiff
invoked the court’s supplemental jurisdiction as to that claim. See, Complaint, ¶ 3;
Amended Complaint, ¶ 3. Although Section 1367(a) of title 28 of the United States
Code authorizes district courts to exercise supplemental jurisdiction over state law
claims, this does not mean that district courts must exercise jurisdiction in every case.
City of Chicago v. Int’l College of Surgeons, 522 U.S. 156, 172 (1997). Supplemental
jurisdiction is “‘a doctrine of discretion, not of plaintiff’s right. . . .’” Id. (quoting
United Mine Workers v. Gibbs, 383 U.S. 715, 726 (1966)). Section 1367(c) of title

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28 of the United States Code specifically provides that district courts may decline to
exercise supplemental jurisdiction where “the district court has dismissed all claims
over which it has original jurisdiction.” 28 U.S.C. § 1367(c)(3). Thus, in light of the
dismissal of all federal law claims, the court must determine whether to exercise
supplemental jurisdiction over the remaining state law civil assault claim. Judicial
economy, fairness, convenience and comity are all considerations that are to guide a
district court’s decision whether to defer to a state court rather than retaining and
disposing of a state law claim. Gibbs, 383 U.S. at 726-27. However, the Tenth
Circuit has held that when the federal claims are resolved before trial, the district court
should usually decline to exercise jurisdiction over the state law claims and allow the
plaintiff to pursue them in state court. See, Smith v. City of Enid By and Through
Enid City Com’n, 149 F.3d 1151, 1156 (10th Cir. 1998); Ball v. Renner, 54 F.3d 664,
669 (10th Cir. 1995).
       In light of the dismissal of the federal law claims prior to any trial in this matter
and finding no consideration requiring the court to retain and dispose of plaintiff’s
state law claim, the court, in its discretion and pursuant to 28 U.S.C. § 1367(c)(3),
declines to exercise supplemental jurisdiction over plaintiff’s state law civil assault
claim against defendant, Chris Robinson. See, Pierce v. Gilchrist, 2006 WL 308271
(10th Cir. February 10, 2006) (affirming district court’s decision to decline exercise
of supplemental jurisdiction upon voluntary dismissal of federal claims prior to trial).1
The court shall dismiss that the claim without prejudice.
       Accordingly, Plaintiff, Nikita Williams’ Motion to Set Aside Administrative
Closing Order, filed February 10, 2006 (doc. no. 25), is GRANTED.                      The




       1
        Unpublished decision cited as persuasive pursuant to 10th Cir. R. 36.3.

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Administrative Closing Order entered on February 9, 2006 (doc. no. 23), is
VACATED.
       Plaintiff’s Nikita Williams’ Motion for Default Judgment, filed February 10,
2006 (doc. no. 28), is DENIED. With the settlement and dismissal of all claims
against defendant, South Council Sonic, Inc., the court, pursuant to 28 U.S.C.
§1367(c)(3), declines to exercise supplemental jurisdiction over plaintiff’s remaining
state law civil assault claim against defendant, Chris Robinson, and that remaining
state law civil assault claim is DISMISSED WITHOUT PREJUDICE.
       Dated this 17th day of February, 2006.




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